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UNITED STATES DISTRICT COURT

oe FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE ELLEN
BARTELS AND FREDERICK L. BARTELS, JR.,
Individually and as Administrators of the Estate of

Abrielle Kira Bartels, Deceased, 2 C.A.NO.: 1:16-cv-2145-

Plaintiffs, > COC
(Conner, C.J.)

VS.

THE MILTON HERSHEY SCHOOL, et al.

Defendants.

 

DEFENDANTS’ MOTION FOR LEAVE Te
FILE DOCUMENTS UNDER SEAL

 

Defendants, The Milton Hershey School, and The Hershey Trust Company
(“HTC”), as Trustee of the Milton Hershey School Trust (collectively

“Defendants”), by and through undersigned counsel, hereby move under Local

~ Rule 5.8 to file documents under seal. The documents which Defendants seek to

file under seal are provided at Exhibit “A” in Defendants’ sealed envelope marked
“Documents pending sealing decision” provided to the Clerk contemporaneous
with the filing of this Motion. Included in that sealed envelope is a Proposed
Order granting Defendants’ Motion to Seal and Defendants’ Memorandum of Law
in Support of Their Motion to Seal. For all the reasons set forth in Defendants’

Memorandum of Law in Support of this Motion, which is incorporated herein by
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reference, this Court should grant Defendants’ motion to file the documents under

seal.

   

Respectfully s submitted,

 

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Counsel for Defendants
Date: April 16, 2018 |
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CERTIFICATE OF SERVICE

I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to
be served via first class mail and electronic mail upon all counsel of record,
including:

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Dated: April 16, 2018
